Case 15-12232-RGM           Doc 19     Filed 08/17/15 Entered 08/17/15 14:27:48                  Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA

                                         Alexandria       Division


In re Michelle Naomi Campbell-Thomas
                                                                   Case No. 15-12232-RGM


                         Debtor(s)                                 Chapter 13


                           ORDER OF DISMISSAL
         FOR FAILURE TO COMMENCE PAYMENTS UNDER CHAPTER 13 PLAN


        The Chapter 13 Trustee having certified to the Clerk that the above Chapter 13 debtor(s)
failed to commence payments proposed in the Chapter 13 Plan as required by 11 U.S.C. 1326(a)(1)
within 30 days after the date of the filing of the plan or the order for relief, whichever is earlier; it is,
therefore

           ORDERED, pursuant to Local Rule 3070-1(C), that the above case be dismissed; and it is
further

         [If appropriate]    ORDERED that the debtor(s) pay the balance of the filing fee in the
amount of $             0.00      to the Clerk of Court within 14 days of the date of this order;
and it is further

         ORDERED that dismissal of this case revests the property of the estate in the entity in which
such property was vested immediately before the commencement of the case. The trustee need not
file a final report in this case unless property or money was administered.


                                                  WILLIAM C. REDDEN
                                                  Clerk of Court

Date: August 17, 2015                             By /s/ Elizabeth Voehl
                                                                  Deputy Clerk

                                                  NOTICE OF JUDGMENT OR ORDER
                                                  ENTERED ON DOCKET:

                                                  August 17, 2015
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